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6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )         CASE NO. 2:09-MJ-146 GGH
                                   )
11                  Plaintiff,     )         REVISED STIPULATION AND ORDER
                                   )         TO EXTEND TIME FOR PRELIMINARY
12        v.                       )         EXAMINATION AND EXCLUDE TIME
                                   )
13   SUSAN BICKAR                  )
     A/K/A SUSAN CARLSON,          )
14   &                             )
     TIM CARLSON                   )
15                  Defendant.     )
     ______________________________)
16

17        The parties agree that time beginning May 17, 2009 and
18   extending through July 17, 2009 should be excluded from the
19   calculation of time under the Speedy Trial Act.        Further, the
20   Defendants consent to a further extension of the time for
21   preliminary examination until July 17, 2009.        Fed. R. Crim. P.
22   5.1(d).   The parties submit that the ends of justice are served
23   by the Court excluding such time, so that they may have
24   reasonable time necessary for effective preparation, taking into
25   account the exercise of due diligence.       18 U.S.C. §
26   3161(h)(8)(B)(iv).   In particular, the time is required so that
27   the government may disclose to the defendants pre-indictment
28   discovery and so that they may evaluate the evidence and possibly

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1    reach a pre-indictment disposition.      The parties stipulate that
2    this interest of justice outweighs the interest of the public and
3    the defendant in a speedy filing of an indictment or information,
4    18 U.S.C. §§ 3161(b), (h)(8)(A), and further that this good cause
5    outweighs the public’s interest in the prompt disposition of
6    criminal cases.   Fed. R. Crim. P. 5.1(d).
7         The parties further request that this matter be taken off
8    calendar until July 17, 2009.
9

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11                                           Respectfully Submitted,
12                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
13

14
     DATE: June 8, 2009               By:     /s/ Matt Segal
15                                           MATTHEW D. SEGAL
                                             Assistant U.S. Attorney
16

17   DATE: June 8, 2009                       /s/ Caro Marks
                                             CARO MARKS
18                                           Counsel for Susan Bickar
19
     DATE: June 8, 2009                       /s/ Jay Greiner
20                                           JAY GREINER
                                             Counsel for TIM CARLSON
21

22   SO ORDERED.
23   DATED: June 8, 2009.
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